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13                                   IN THE UNITED STATES DISTRICT COURT
14
                                     THE EASTERN DISTRICT OF CALIFORNIA
15
                                              FRESNO DIVISION
16
     GERALD CARLIN, JOHN RAHM, PAUL                         Case No. 1:09-cv-00430-AWI (EPG)
17
     RAZWADOWSKI and DIANA WOLFE,
18   individually and on behalf of themselves and all       ORDER GRANTING DEFENDANT
     others similarly situated,                             DAIRYAMERICA’S REQUEST TO SEAL
19                                                          DOCUMENTS AND FILE REDACTED
                       Plaintiffs,                          VERSIONS
20
              v.
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22   DAIRYAMERICA, INC.

23                               Defendant.
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                   [PROPOSED] ORDER GRANTING DEFENDANT DAIRYAMERICA’S REQUEST TO SEAL DOCUMENTS

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                                 Case 1:09-cv-00430-AWI-EPG Document 264 Filed 03/28/16 Page 2 of 2

                             1                                                  ORDER
                             2            This matter comes before the Court on Defendant DairyAmerica’s Request to Seal
                             3   Documents and File Redacted Versions (the “Request”) pursuant to Gen. L.R. 140 and 141.
                             4   Having considered the Request, papers submitted in support and any opposition, and good cause
                             5   appearing, the Request is GRANTED.
                             6            IT IS HEREBY ORDERED,
                             7            The Clerk is directed to file an unredacted version of Defendant DairyAmerica’s Motion to
                             8   Dismiss Plaintiffs’ Third Amended Complaint under seal.
                             9            Upon entry of this Order and after the Clerk of the Court has filed the unredacted
                            10   document under seal, Defendant DairyAmerica will file a redacted version of the above document
DAVIS WRIGHT TREMAINE LLP




                            11   directly via CM/ECF. DairyAmerica has already served counsel for Plaintiffs with copies of the
                            12   unredacted document. Only the Court and its staff shall have access to the unredacted document.
                            13
                                 IT IS SO ORDERED.
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                            15   Dated: March 25, 2016
                                                                               SENIOR DISTRICT JUDGE
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                                               [PROPOSED] ORDER GRANTING DEFENDANT DAIRYAMERICA’S REQUEST TO SEAL DOCUMENTS

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